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                                                                 United States District Court
                                                                   Southern District of Texas

                                                                      ENTERED
                                                                   February 01, 2024
                                                                   Nathan Ochsner, Clerk
         In the United States District Court
          for the Southern District of Texas
                         GALVESTON DIVISION
                              ═══════════
                              No. 3:23-cv-170
                              ═══════════

                     JENNIFER ROBINSON, PLAINTIFF,

                                     v.

             DEUTSCHE BANK NATIONAL TRUST, DEFENDANT.
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               MEMORANDUM OPINION AND ORDER
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JEFFREY VINCENT BROWN, UNITED STATES DISTRICT JUDGE:

     The defendant has moved for summary judgment. Dkt. 11. The court

will grant the motion.

     Background
     This is a residential mortgage dispute between the borrower, Jennifer

Robinson, and the lender, Deutsche Bank National Trust. Robinson

purchased residential property located at 3111 Longhorn Circle in Manvel in

2006. Dkt. 12 ¶¶ 1–2. She executed a promissory note and deed of trust with

Long Beach Mortgage as the lender. Dkt. 11 ¶¶ 7–8. The note was later




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assigned to Deutsche Bank and serviced by Select Portfolio Servicing (“SPS”).

Id. ¶ 9–10.

      Robinson is past due for the November 1, 2017, loan payment and all

subsequent payments due. Dkt. 11 ¶ 12. On December 11, 2017, Deutsche

Bank claims to have sent a notice of default letter to Robinson. Dkt. 11-7.

Years later, on February 21, 2020, Deutsche Bank claims to have also sent a

notice-of-acceleration letter to Robinson. Dkt. 11-8. Robinson maintains she

did not receive either letter. See Dkts. 1-4 ¶¶ 11, 15; 12 ¶ 8.

      In April 2023, Robinson began to receive a “plethora” of “mailers, text

messages, and phone calls informing her that her property was posted for

foreclosure sale to occur on June 06, 2023.” Dkt. 1-4 ¶ 10. Robinson sued

Deutsche Bank in state court seeking a declaration that the foreclosure was

wrongful and brought claims for breach of contract, unreasonable collection

efforts, and intentional infliction of emotional distress. Dkt. 1-4. The

foreclosure was enjoined by an ex parte temporary restraining order for

fourteen days and subsequently canceled. Dkts. 1-5; 11 ¶ 24. Deutsche Bank

then timely removed to this court and now moves for summary judgment on

all claims. Dkts. 1, 11.




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      Legal Standard
      Summary judgment is proper when “there is no genuine dispute as to

any material fact and the movant is entitled to a judgment as a matter of law.”

Fed. R. Civ. P. 56(a). The court must view the evidence in the light most

favorable to the nonmovant. Coleman v. Hous. Indep. Sch. Dist., 113 F.3d

528, 533 (5th Cir. 1997). For each cause of action moved on, the movant must

set forth those elements for which it contends no genuine dispute of material

fact exists. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The burden

then shifts to the nonmovant to offer specific facts showing a genuine dispute

for trial. See Fed. R. Civ. P. 56(c); Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 586–87 (1986). “A dispute about a material fact is

‘genuine’ if the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Bodenheimer v. PPG Indus., Inc., 5 F.3d 955, 956

(5th Cir. 1993) (citation omitted).

      The court “may not make credibility determinations or weigh the

evidence” in ruling on a summary-judgment motion. Reeves v. Sanderson

Plumbing Prods., Inc., 530 U.S. 133, 150 (2000). But when the nonmoving

party has failed “to address or respond to a fact raised by the moving party

and supported by evidence,” then the fact is undisputed. Broad. Music, Inc.

v. Bentley, No. SA-16-CV-394-XR, 2017 WL 782932, at *2 (W.D. Tex. Feb.

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28, 2017). “Such undisputed facts may form the basis for summary

judgment.” Id. The court may grant summary judgment on any ground

supported by the record, even if the ground is not raised by the movant.

United States v. Hous. Pipeline Co., 37 F.3d 224, 227 (5th Cir. 1994).

      Analysis
      Here at the summary-judgment stage, Robinson’s sole remaining

claim is for breach of contract. She has expressly waived her unreasonable-

collection-efforts claim in her response to summary judgment. Dkt. 12 ¶ 12.

And she has implicitly waived her claim for intentional infliction of

emotional distress. Terry Black’s Barbecue, L.L.C. v. State Auto. Mut. Ins.

Co., 22 F.4th 450, 459 (5th Cir. 2022) (“A plaintiff abandons claims when

[she] fails to address the claims or oppose a motion challenging those

claims.”). Lastly, as no foreclosure sale has occurred, Robinson’s request for

declaratory relief is moot. See Butler v. Colonial Sav., F.A., 2020 WL 292273,

at *2 (S.D. Tex. Jan. 21, 2020) (holding plaintiff’s request for declaratory

relief moot when no sale had occurred and plaintiff remained in possession

of the property); Ortega v. Ocwen Loan Servicing, LLC, 2016 WL 5794803,

at *1 (W.D. Tex. Oct. 3, 2016). Therefore, the court will grant summary

judgment on these claims and analyze the sole remaining claim on the

merits.

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         The remaining breach-of-contract claim is based on Deutsche Bank’s

failure to send the contractually required foreclosure notices. Dkt. 1-4 ¶ 19.

Deutsche Bank claims to have sent the two required notices via certified mail,

but Robinson claims to have never received them.* Dkts. 11 ¶¶ 13–14; 12 ¶¶

5, 8.

         Nevertheless, the parties agree that Robinson’s actual receipt of the

notices is not required. Dkts. 11 ¶ 25; 12 ¶ 8. Rather, the core inquiry is

whether Deutsche Bank sent the notices. LSR Consulting, LLC v. Wells

Fargo Bank, N.A., 835 F.3d 530, 534 (5th Cir. 2016) (“Texas courts have

recognized that the dispositive inquiry is not receipt of notice, but, rather,

service of notice.”); Martins v. BAC Home Loans Servicing, L.P., 722 F.3d

249, 256 (5th Cir. 2013) (“Service of notice is complete when the notice is

sent via certified mail. . . .There is no requirement that [the borrower] receive

the notice.”).


         * Robinson’s response to summary judgment is, at best, unclear as to which

letters she received. She begins her response by stating “it is an undisputed fact
that Plaintiff never received the notices required by Texas Property Code § 51.002.”
Dkt. 12 ¶ 8. Yet, one page later, Robinson asserts that Deutsche Bank “provided
adequate proof” that all “notices required by Texas Property Code Section 51 were
sent and received.” Id. ¶ 11. Construing these contradictory statements in favor of
the non-movant, the court will presume Robinson’s position remains consistent
with her complaint that she did not receive the two letters sent by Deutsche Bank.

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      Deutsche Bank has provided competent summary-judgment evidence

to establish it sent the required notices. The Texas Property Code provides

that “an affidavit of a person knowledgeable of the facts to the effect that

service was completed is prima facie evidence of service.” Tex. Prop. Code. §

51.002(e). Deutsche Bank has provided such an affidavit. Dkt. 11-1 ¶¶ 10–11.

And it has provided scans of certified mail envelopes for both the notice of

default and notice of acceleration. Dkts. 11-7, 11-8. Deutsche Bank has made

a prima facie case of service, and Robinson offers no evidence to refute the

fact that the notices were sent. See Douglas v. Wells Fargo Bank, N.A., 992

F.3d 367, 372 (5th Cir. 2021) (rejecting a “self-serving protestation[ ] of non-

receipt of notice” as insufficient to “create a genuine dispute at summary

judgment.”) (internal quotation marks omitted). Accordingly, Deutsche

Bank’s motion is granted as to Robinson’s breach-of-contract claim.

                                 *     *     *
      For the foregoing reasons, the court grants Deutsche Bank’s motion for

summary judgment on all claims. Final judgement will issue separately.

      Signed on Galveston Island this 1st day of February, 2024.



                                      ___________________________
                                      JEFFREY VINCENT BROWN
                                      UNITED STATES DISTRICT JUDGE

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